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Attorneys for Defendant
EXPERIAN INFORMATION SOLUTIONS, INC.

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

ROANE HOLMAN, NARCISCO
NAVARRO HERNANDEZ, MIGUEL A.
ALVAREZ,
Plaintiffs,
Vv.

EXPERIAN INFORMATION SOLUTIONS,
INC.

Defendant.

 

 

 

Case No. CV-11-00180-CW

Assigned to the Honorable
Claudia Wilken

DECLARATION OF JESSE A.
ENRIQUEZ IN SUPPORT OF
EXPERIAN INFORMATION
SOLUTIONS, INC.’S OPPOSITION
TO PLAINTIFFS’ MOTION FOR
CLASS CERTIFICATION

Hearing: January 26, 2012
Time: 2:00 p.m.
Courtroom 2

DECLARATION OF J. ENRIQUEZ ISO
OPPOSITION TO CLASS CERTIFICATION
CV-11-00180-CW

 
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I, Jesse Enriquez, declare as follows:

l. I am currently the Vice President of Operations for the towing company Girard &
Peterson, Inc., in Burbank, California. I have held this position since 1982. I make this
declaration in support of Experian’s Memorandum of Points and Authorities in Opposition to
Plaintiffs’ Motion for Class Certification. I have personal knowledge of the facts stated in this
declaration and, if called as a witness, I could and would testify competently to them.

2. I have worked in the towing industry for forty years, and for the past ten years I
have been an elected member of the Board of Directors of the California Tow Truck Association
(“Association”). The Association is a state-wide association of professional towing operators that
was formed to improve the quality of towing and other related services provided to the motoring
public and to otherwise represent the interests of its members. I regularly attend board meetings
of the Association and vote on issues pending before the Association on behalf of the Los
Angeles chapter. The board votes on matters such as (i) what standards the Association should
propound regarding best practices and procedures in the towing industry, and (ii) whether the
Association should support certain legislative matters involving the towing industry. I also have
published numerous articles regarding the towing industry and provided training to members of
the Association regarding best practices and procedures in the industry.

3. I have testified and been qualified as an expert witness regarding the towing
industry in various proceedings, including civil court actions and California Highway Patrol
hearings. In court actions, I have testified on behalf of both plaintiffs and defendants regarding
the standard of care in the towing industry. In California Highway Patrol hearings, I have
testified regarding best practices and procedures in the towing industry on behalf of tow truck
companies and operators who have been suspended or reprimanded by the California Highway
Patrol. Attached as Exhibit 1 hereto is a true and correct copy of my CV.

4, Through my work as Vice President of Operations of Girard & Peterson, Inc., and
Director of the Los Angeles Chapter of the Association, I have interacted with many owners and
operators of towing companies from around the state and am familiar with their practices and

procedures, including their practices related to the collection of unpaid towing and storage costs.

DECLARATION OF J. ENRIQUEZ ISO
OPPOSITION TO CLASS CERTIFICATION
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5. When a towing company has towed a vehicle but is unable to recover the towing
and storage costs from the vehicle’s owner, that towing company has the right under certain
circumstances to sell the vehicle at a lien sale and apply the proceeds to the unpaid towing and
storage costs. When the proceeds of the lien sale are insufficient to cover the towing and storage
costs, the towing company sometimes will retain a collection agency, such as Finex Group LLC
(“Finex”), to attempt to recover the deficiency from the vehicle’s owner.

6. The towing debts that are sent to collection agencies such as Finex can arise in a
number of different situations. Some of these debts result from towings made at the direction of
law enforcement, such as police impoundments of vehicles that have been illegally parked or
abandoned by their owners. However, there are at least seven different types of towing debts that
are expressly requested and initiated by the consumer:

(a) Where the owner has requested that the vehicle be towed (e.g., to a mechanic) but

is unable to provide proper payment when the tow truck reaches the destination, the

vehicle would be towed to the tow yard, towing and storage charges would accrue. If the
charges remain unpaid after 72 hours, the vehicle would then be subject to the lien sale
process, and sold at a later date if not redeemed. I understand Finex is claiming that
towing companies always require payment in advance, but that is not true. In fact, many
towing companies, including my own, do not require payment in advance because they
recognize that possession of the vehicle typically ensures payment.

(b) Where the owner has requested a tow through an automobile club membership

(e.g., a AAA membership) and received towing, storage, or other services not covered

under the agreement, and later is unable or unwilling to pay the uncovered costs.

(c) Where the owner has authorized the vehicle be towed to the tow yard, assuming

that their insurance or another party’s insurance will cover towing, storage, and/or lien

fees, and later discovers that there is no insurance coverage available to pay for the
services.

(d) Where the owner has requested and paid for a tow with a personal check but the

check later bounces.

DECLARATION OF J. ENRIQUEZ ISO
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(e) Where the owner has requested and paid for a tow with a credit card but the

payment is later reversed or rejected.

(f) Where the owner of a vehicle that has been involved in an accident has left the

scene (e.g., to go home or to work or to seek medical treatment) but has authorized the

police to have the vehicle towed. In this scenario, the actual towing of the vehicle is made
at the direction of the police, but was requested and initiated by the owner.

(g) Where the owner has been placed under arrest but has authorized the police to

have the vehicle towed. This scenario can arise where the police do not have any lawful

grounds for impounding the vehicle; in these situations, the police sometimes will give the
owner the option of having the vehicle towed under an owner’s request (as opposed to
simply leaving the vehicle unattended, or having a friend or relative come pick it up).

7. The towing debts sent to collection agencies such as Finex include debts arising
from all six of these different types of consumer-initiated towings. My own company, Girard &
Petersen, is a customer of Finex. In my position as Vice President of Operations, I personally
have sent to Finex debts that were the result of consumer-initiated towings.

8. Based on my knowledge of the types of debts regularly sent to collection agencies,
both by my company and by other towing companies, I would estimate that between 25 and 30
percent of the towing debts sent to Finex are the result of consumer-initiated towings.

9. When a towing company sends debts to a collection agency such as Finex, the
towing company normally does not provide detailed information concerning the circumstances of
the towings that gave rise to those debts. For any particular debt, a towing company typically
provides the collection agency only with information about the underlying lien sale and the
registered ownership of the vehicle. In most cases, therefore, the information provided to the
collection agency will not be sufficient to allow a determination of whether the towing that gave
rise to the debt was consumer initiated or not.

10. Before a towing company can sell a towed vehicle in a lien sale, it must provide
notice to the owner. If the owner objects to the lien sale, towing companies will sometimes file

suit, typically in small claims court, and seek a court judgment for the amount owed. In some

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cases, towing companies will send debts that have been confirmed in court judgments to
collection agencies rather than pursue payment themselves.
I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct.

Executed on December ed’, 2011 at BULBANK, CW ;

hf. ame val
at

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DECLARATION OF J. ENRIQUEZ ISO
OPPOSITION TO CLASS CERTIFICATION
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